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            United States Court of Appeals
                 for the Fifth Circuit                                  United States Court of Appeals
                                                                                 Fifth Circuit

                                     ___________                               FILED
                                                                        January 23, 2024
                                      No. 20-40359                        Lyle W. Cayce
                                     ___________                               Clerk

Priscilla Villarreal,

                                                                  Plaintiff—Appellant,

                                           versus

The City of Laredo, Texas; Webb County, Texas; Isidro
R. Alaniz; Marisela Jacaman; Claudio Trevino, Jr.; Juan
L. Ruiz; Deyanria Villarreal; Enedina Martinez;
Alfredo Guerrero; Laura Montemayor; Does 1-2,

                                              Defendants—Appellees.
                      ____________________________

                    Appeal from the United States District Court
                        for the Southern District of Texas
                              USDC No. 5:19-CV-48
                     ____________________________

Before Richman, Chief Judge, and Jones, Smith, Stewart,
Elrod, Southwick, Haynes, Graves, Higginson, Willett,
Ho, Duncan, Engelhardt, Oldham, Wilson and Douglas,
Circuit Judges.*

                                   JUDGMENT



        *
            Judge Ramirez joined the court recently and elected not to participate in this
case.
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                                    No. 20-40359


       This cause was considered on the record on appeal and was argued by
counsel.
       IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED.
       IT IS FURTHER ORDERED that appellant pay to appellees the
costs on appeal to be taxed by the Clerk of this Court.


James E. Graves, Jr., Circuit Judge, joined by Elrod, Higginson,
Willett, Ho, and Douglas, Circuit Judges, dissenting.

Stephen A. Higginson, Circuit Judge, joined by Elrod, Graves,
Willett, Ho, Oldham, and Douglas, Circuit Judges, dissenting.

Don R. Willett, Circuit Judge, joined by Elrod, Graves,
Higginson, Ho, and Douglas, Circuit Judges, dissenting.

James C. Ho, Circuit Judge, joined by Elrod, Graves, Higginson,
Willett, and Douglas, Circuit Judges, dissenting.




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